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                    13                               UNITED STATES DISTRICT COURT

                    14                             NORTHERN DISTRICT OF CALIFORNIA

                    15                                      SAN FRANCISCO DIVISION

                    16

                    17   EMMANUEL CORNET, JUSTINE DE                     Case No. 3:22-cv-06857-JD
                         CAIRES, GRAE KINDEL, ALEXIS
                    18   CAMACHO, JESSICA PAN, EMILY KIM,
                         MIGUEL BARRETO, AND BRETT                       [PROPOSED] ORDER DENYING
                    19   MENZIES FOLKINS, on behalf of themselves        RELATIONSHIP BETWEEN CORNET,
                         and all others similarly situated,              ET AL. V. TWITTER, INC. AND
                    20                                                   RODRIGUEZ V. TWITTER, INC. AND
                                              Plaintiffs,
                    21                                                   PRO UNLIMITED, INC.
                                       v.
                    22
                         TWITTER, INC.
                    23
                                              Defendant.
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MORGAN, LEWIS &
                                                                                          Case No. 3:22-cv-06857-JD
 BOCKIUS LLP              [PROPOSED] ORDER DENYING RELATIONSHIP BETWEEN CORNET, ET AL. V. TWITTER, INC. AND
 ATTORNEYS AT LAW
                                          RODRIGUEZ V. TWITTER, INC. AND PRO UNLIMITED, INC.
                           Case 3:22-cv-06857-JD Document 55-1 Filed 01/20/23 Page 2 of 2



                     1                                        [PROPOSED] ORDER

                     2          This Court, having considered the Referral for Purpose of Determining Relationship

                     3   signed by Judge Trina L. Thompson and Defendant Twitter, Inc.’s opposition thereto, and good

                     4   cause appearing therefore, hereby ORDERS as follows:

                     5          1.      Francisco Rodriguez v. Twitter, Inc., et al., Case No. 3:22-cv-07222-TLT, and

                     6   Emmanuel Cornet, et al. v. Twitter, Inc., Case No. 3:22-cv-06857-JD, do not satisfy the definition

                     7   of “related cases” set forth in Civil Local Rule 3-12(a) and will not be designated as “related” by

                     8   the Court.

                     9          2.      There shall be no changes in the current case assignments.

                    10          IT IS SO ORDERED.

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                    12   Dated: _______________________
                                                                           HONORABLE JAMES DONATO
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                                                                           United States District Judge
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MORGAN, LEWIS &
                                                                         -1-               Case No. 3:22-cv-06857-JD
 BOCKIUS LLP               [PROPOSED] ORDER DENYING RELATIONSHIP BETWEEN CORNET, ET AL. V. TWITTER, INC. AND
 ATTORNEYS AT LAW
                                           RODRIGUEZ V. TWITTER, INC. AND PRO UNLIMITED, INC.
